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502505982 09/23/2013

PATENT ASSIGNMENT

Electronic Version v1.1
Stylesheet Version v1.1

SUBMISSION TYPE: NEW ASSIGNMENT

NATURE OF CONVEYANCE: ASSIGNMENT

CONVEYING PARTY DATA

| Name

| Execution Date

[Reagan Inventions, LLC

!l09/23/2013

RECEIVING PARTY DATA

[Name: [Ariel Inventions, LLC

(Street Address: ||19333 Collins Ave Suite 2501

ICity: ||Sunny Isles Beach

|State/Country: ||FLORIDA

[Postal Code: ||33160

PROPERTY NUMBERS Total: 1

| Property Type | Number

| Patent Number: | 8424752

CORRESPONDENCE DATA

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ATTORNEY DOCKET NUMBER: LEIGH-33 CON

NAME OF SUBMITTER: Atanu Das

Signature: /Atanu Das/

Date: 09/23/2013

Total Attachments: 2
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PATENT

ASSIGNMENT

WHEREAS, WE, Reagan Inventions, LLC, of 19333 Collins Ave #2501, Sunny Isles
Beach, FL 33160 has ownership rights for the following patent and patent applications,
hereinafter referred to Assignor:

1. US Patent No. 8,424,752

WHEREAS, Ariel Inventions, LLC, of 19333 Collins Ave #2501, Sunny Isies Beach, FL
33160, with a principal place of business at 19333 Collins Avenue #2501 Sunny Isles Beach,
FL 33160, hereinafter referred to as Assignee, is desirous of acquiring the entire domestic and
foreign right, title, and interest in and under the inventions described in the above patent and
patent applications.

NOW, THEREFORE, for good and valuable considerations, the receipt and sufficiency
of which are hereby acknowledged, Assignor assigns and transfers to the Assignee and the
Assignee's legal] representatives, successors and assigns the full and exclusive rights in and to
the inventions in the U.S. and every foreign country and the entire right, title, and interest in
and to the above patent and patent applications and other such applications (e.g., provisional
applications, non-provisional applications, continuations, continuations-in-part, divisionals,
reissues, reexaminations, PCT applications, National phase applications, including petty
patent applications, and utility model applications) that may be filed in the United States and
every foreign country on the inventions disclosed in the above patent applications , and the
patents, extensions, or derivations thereof, both foreign and domestic, that may issue thereon,
and we do hereby authorize and request the Commissioner of Patents to issue U.S. patents to
the above-mentioned Assignee agreeably with the terms of this assignment document.

Upon SAID CONSIDERATION, we convey to the Assignee the right to make
application in its own behalf for protection of the inventions in the above patent and patent
applications in the ULS. and countries foreign to the U.S. and to claim under the Patent
Cooperation Treaty, the International Convention and/or other international arrangement for
any such application the date of the U.S. application (or any other application on the
invention} to gain priority with respect to other applications.

WE Do HEREBY COVENANT and agree with the Assignee that we, the Assignor, will
not execute any writing or do any act whatsoever conflicting with the terms of this
assignment decument set forth herein, and that we will at any time upon request, without
further or additional consideration, but at the expense of the Assignee, execute such
additional assignments and other writings and do such additional acts as the Assignee may
deem necessary or desirable to perfect the Assignee’s enjoyment of this assignment, and
render all necessary assistance in making application for and obtaining original, continuation,
continuation-in-part, divisional, reissued, reexamined, PCT applications and National phase
patents of the U.S. or of any and all foreign countries on the inventions disclosed in the above
patent and patent applications, and in enforcing any rights or causes in action accruing as a
result of such applications or patents, and by executing statements and other affidavits, it
being understood that the foregoing covenant and agreement shall bind, and inure to the
benetit of, the assigns and legal representatives of all parties hereto.

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Reagan Inventions, LLC: i C7

Date} U
Leigh M. Rothschild

Authoriz; gent for

CO LLC
Atiel Inwenti ns, LLC: eT
Date: ate ~~ | .

Leigh M. Rothschild
Authorized Agent for
Artel Inventions, LLC

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—______---RECORDED: 09/23/2013 REEL: 031261 FRAME: 0966
